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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 EASTERN DIVISION


 ROBERT A. DOANE,

                       Plaintiff,
                                                            C.A. No.
 v.

 ADVANCED MARKETING &
 PROCESSING, INC.,

                   Defendant.
 _______________________________________

                      DEFENDANT ADVANCED MARKETING AND
                      PROCESSING, INC.’S NOTICE OF REMOVAL

       Defendant ADVANCED MARKETING AND PROCESSING, INC. (“AM&P”), pursuant

to 28 U.S.C. §§ 1332, 1441(a) and (b), and 1446, with full reservation of all defenses, hereby

removes this action from the Trial Court of the Commonwealth, Superior Court Department,

Middlesex County, Massachusetts to United States District Court for the District of Massachusetts,

Eastern Division. In support of this Notice of Removal, AM&P states as follows:

I.     Background

       1.      On or about May 2, 2022, Plaintiff commenced this action by filing a Complaint in

the Trial Court of the Commonwealth, Superior Court Department, Middlesex County. A true and

correct copy of the Complaint is attached hereto as Exhibit A (the “Complaint”).

       2.      On May 19, 2022, copies of the Summons and the Complaint were served on

AM&P.

       3.      AM&P now timely removes this action to this Court.
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II.    Basis for Jurisdiction

       4.      This Court has jurisdiction over this removed action pursuant to 28 U.S.C. §§ 1332

and 1441(a) and (b). This action makes claims for monetary and equitable relief that could have

been filed originally with this Court pursuant to 28 U.S.C. § 1332(a) because, based upon the

pleaded claims, the amount in controversy exceeds the sum or value of $75,000.00, exclusive of

interest and costs, and is between citizens of different States. See 28 U.S.C. § 1332(a) and (a)(1).

       5.      The diversity requirement is met because Plaintiff and AM&P are completely

diverse.

       A.      Citizenship of Plaintiff

       6.      Plaintiff is an individual with an alleged residence in Wakefield, Massachusetts.

Compl. at ¶ 7. Plaintiff is therefore a citizen of Massachusetts.

       B.      Citizenship of AM&P

       7.      For purposes of diversity jurisdiction, a corporation “is considered to be a citizen

of its state of incorporation as well as the state where it has its principal place of business.” Media

Duplication Servs., Ltd. v. HDG Software, Inc., 928 F.2d 1228, 1236 (1st Cir. 1991) (citing 28

U.S.C. § 1332(c)(1)).

       8.      AM&P is a corporation organized under the laws of the State of Florida, with its

principal place of business located in Saint Petersburg, Florida. AM&P is therefore a citizen of

Florida.

       C.      Value of the Matter in Controversy

       9.      The nature of the claims in the Complaint establishes that the value of the matter in

controversy here exceeds $75,000.00 exclusive of interests and costs. See 28 U.S.C. § 1332(a).

       10.     If removal is disputed, the defendant must present evidence to establish the asserted

amount in controversy by a “reasonable probability,” which is “for all practical purposes identical


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to the preponderance standard.” Amoche v. Guar. Tr. Life Ins. Co., 556 F.3d 41, 43, 50 (1st Cir.

2009). See also Consigli Constr. Co. v. Travelers Indem. Co., 256 F. Supp. 3d 62, 66 n.2 (D. Mass.

2017) (collecting cases).

       11.       “[T]he standard for measuring the amount in controversy is not one of guaranteed

recovery; it is instead measured by the damages that the plaintiff might recover, assuming that the

allegations in the complaint are true.” Archila v. Integon Nat’l Ins. Co., No. CV 17-367 WES,

2017 WL 5633103, *3 n.4 (D.R.I. Nov. 21, 2017) (internal quotation omitted).

       12.       While the jurisdictional amount in controversy calculation excludes “interest and

costs,” (28 U.S.C. § 1332(a)(1)), “a court must consider damage multipliers and attorneys’ fees

that are statutorily authorized.” Vilaythong v. Sterling Software, Inc., 353 F. Supp. 3d 87, 92 (D.

Mass. 2018). See also, e.g., Bell v. Preferred Life Assur. Soc. of Montgomery, Ala., 320 U.S. 238,

240 (1943) (“Where both actual and punitive damages are recoverable under a complaint each

must be considered to the extent claimed in determining jurisdictional amount.”); Spielman v.

Genzyme Corp., 251 F.3d 1, 7 (1st Cir. 2001) (“Normally, attorney’s fees are excluded from the

amount-in-controversy determination. . . . There are two exceptions to this rule: when the fees are

provided for by contract, and when a statute mandates or allows payment of the fees.”).

       13.       Plaintiff’s first cause of action is for alleged violations of the Massachusetts

Telemarketing Solicitations Act, Mass. G.L. c. 159C (the “MTSA”). See Compl. at ¶¶ 51-60. The

MTSA permits the recovery of “actual monetary loss” or “not more than $5,000 in damages for

such knowing violation,” reasonable attorneys’ fees, and injunctive relief. See Mass. G.L. c. 159C,

§§ 8(b) & (c).

       14.       Plaintiff’s second cause of action is under the common law tort of invasion of

privacy by intrusion upon seclusion. See Compl. at ¶¶ 61-68. Plaintiff alleges in connection with




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this claim that he suffered harm and damages and that “the acts complained of were committed

with malice, intent, wantonness and recklessness, and as such, Defendant is subject to punitive

damages.” Id. at ¶¶ 67-68.

       15.     Plaintiff’s third cause of action is for alleged violations of the Massachusetts

Consumer Protection Act, Mass. G.L. c. 93A. See Compl. at ¶¶ 69-80. Chapter 93A permits

recovery of attorneys’ fees and damages for each violation “in the amount of actual damages or

twenty-five dollars, whichever is greater; or up to three but not less than two times such amount if

the court finds that the use or employment of the act or practice was a willful or knowing

violation,” which Plaintiff alleges in the Complaint. Mass. G.L. c. 93A, § 9. See also Compl. at

¶¶ 74, 76, and page 17 (requesting the Court “[f]ind that Defendant and their agent Telemarketers’

actions complained of were willful, knowing, intentional, unfair, and deceptive, in violation of

M.G.L. c. 93A and award Plaintiff treble damages”).

       16.     For the following reasons, and while AM&P does not believe any of Plaintiff’s

causes of action have a basis in law or fact, Plaintiff has put in controversy a potential award of

more than $75,000 for his three causes of action should he prevail.

               1.      Compensatory Damages

       17.     Plaintiff alleges that “[i]n the days leading up to May 2, 2019, Defendant, by and

through the Telemarketers, caused at least ten (10) Spoofed calls (the ‘Spoofed Calls’) to be placed

to Plaintiff’s cellphone . . . .” Compl. at ¶ 22. Plaintiff further alleges receipt of an additional –

eleventh – telephone call “[o]n May 2, 2019, at 2:36 PM,” which he alleges, based on the

similarities he claims between that call and the “Spoofed Calls,” established AM&P as the party

responsible for the ten prior Spoofed Calls. See, e.g., Compl. at ¶¶ 28-29, 36, 38. Plaintiff also

alleges receipt of “three (3) additional unsolicited calls . . . directly from Protect My Car [AM&P]”




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later on May 2, 2019. See id. at ¶ 45. Plaintiff therefore alleges ten Spoofed Calls and four

additional calls in violation of, at the least, the MTSA, for a total of fourteen alleged violations.

        18.     As mentioned above, the MTSA permits the recovery of actual monetary loss or up

to $5,000 in statutory damages for each violation. See Mass. G.L. c. 159C, § 8(b). Plaintiff

demands an award of “statutory damages of not less than $5,000 for each violation.” Compl. at

page 17. Thus, the ten Spoofed Calls alone could result in damages of $50,000 (the amount

claimed by Plaintiff on his civil cover sheet), (see Ex. B), and the additional four calls that Plaintiff

also alleges violate the MTSA could result in damages of an additional $20,000, for a total of

$70,000 ($5,000.01 shy of the jurisdictional threshold for diversity jurisdiction).

        19.     Plaintiff does not allege facts sufficient to reasonably establish an amount of

compensatory damages sought on his claim for invasion of privacy by intrusion upon seclusion

(Count II). However, his claim under c. 93A could result in additional compensatory damages of

$25 per alleged violation, which he seeks to have trebled pursuant to Mass. G.L. c. 93A, § 9. See

Compl. at ¶¶ 74, 76, and page 17. For the ten Spoofed Calls, that would be $750 in compensatory

damages, and for the four later calls alleged in the Complaint, that would be an additional $300 in

compensatory damages, for a total of $1,050.

                2.      Attorneys’ Fees

        20.     Under both the MTSA and Chapter 93A, Plaintiff may recover attorneys’ fees if he

prevails. See Mass G.L. c. 159C, § 8(c); Mass G.L. c. 93A, § 9(4). Plaintiff expressly seeks an

award of attorneys’ fees. See Compl. at page 17.

        21.     “93A fee awards should be limited to the fees incurred in connection with the

plaintiff’s 93A claims, unless the plaintiff’s other claims are ‘largely predicated on identical facts,

and thus the legal effort to establish the two classes of claims was virtually the same.’” A2Z Dental,

LLC v. Miri Trading, LLC, 494 F. Supp. 3d 30, 34 (D. Mass. 2020) (quoting Twin Fires v. Morgan


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Stanley Dean Witter, 837 N.E.2d 1121, 1138 (Mass. 2005)). Here, Plaintiff’s other claims are

predicated upon the same facts as the c. 93A claim. See, e.g., Compl. at ¶ 73 (“Defendant’s and

Telemarketers’ numerous violations of the MTSA (and the regulations promulgated thereunder)

constitute unfair and deceptive conduct in violation of M.G.L. c. 93A, § 2.”).

        22.      Massachusetts law provides that “the ‘basic measure’ of a reasonable statutory

attorney’s fee award is the lodestar method, which involves ‘multiplying the number of hours

reasonably spent on the case [by] a reasonable hourly rate.’” Siegel v. Berkshire Life Ins. Co., 835

N.E.2d 288, 294 (Mass. App. Ct. 2005) (quoting Fontaine v. Ebtec Corp., 613 N.E.2d 881, 890

(Mass. 1993)).

        23.      Though Plaintiff does not allege the amount for attorneys’ fees sought for his

claims, it is possible to reach a reasonable estimate of the attorneys’ fees likely to be at issue based

on several examples involving c. 93A claims. For the reasons set forth below, there is a reasonable

probability, at a minimum, that attorneys’ fees in this lawsuit over fourteen telephone calls alleged

to be in violation of the MTSA and c. 93A exceed $3,950, the amount required to exceed the

$75,000 jurisdictional threshold given the $71,050 in controversy based upon the compensatory

damages sought under those two statutory claims.

        24.      In Ford v. Carey, 929 N.E.2d 375 (Mass. App. Ct. 2010), where a real estate broker

was found at trial to have made misrepresentations that caused the plaintiff to list her home and

incur a commission that she would not have otherwise incurred, the Appeals Court affirmed an

award of attorneys’ fees in the amount of $75,000. In comparison, according to the Appellants’

brief, the damages awarded to the plaintiff were “the return of the commission ($27,500) as

damages, doubled . . . .” NRT New England, Inc. v. Ford, No. 2009-P-1178, 2009 WL 4551406,

*7 (Mass. App. Ct. Nov. 17, 2009).




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        25.     In Heath v. Silvia & Silvia Associates, Inc., No. 041570C, 2007 WL 3259150, *1

(Mass. Super. Oct. 5, 2007), following trial, the court “found a single violation of G.L.c. 93A,

doubled the portion of the damages related to that claim, $8,5425.44,” and awarded attorneys’ fees

solely in connection with the c. 93A claim. Significantly, in determining the amount of fees to be

awarded, the court stressed that “[t]he issues involved were not complex: the case was a basic

breach of contract claim, with attendant claims of c. 93A violations. The claims were that work

contracted for was done poorly, or not at all, and that there were some billing issues. . . . . [I]

found only one aspect of the defendant’s conduct to be unfair and deceptive. That particular aspect

required little in the way of effort by counsel for the plaintiffs . . . .” Id. at *2.

        26.     The court reduced the 900+ hours included in the plaintiff’s fee request by nearly

half and found, for purposes of assessing the lodestar numbers, “a reasonable number of hours to

spend on this matter” was 309.75 hours for the partner on the case and 145.35 hours for the

associate. Id. at *4. “Taking into account that the issues involved in the case were not complex;

that the plaintiffs recovered less than half of the damages they had sought from the jury; and that

they had only very limited success on the 93A aspect of the case,” the court “reduce[d] [the]

lodestar number by 80% and . . . award[ed] the plaintiffs $27,496.50 in attorneys’ fees on the sole

successful aspect of their c. 93A claims.” Id. at *4.

        27.     More recently, in A2Z Dental, the court awarded attorneys’ fees under c. 93A. The

court found that “[t]his was a straightforward case which did not present any new or complex

questions of law and should not have taken substantial time or labor to litigate. Motions practice

was limited, especially considering that [defendant’s] failure to file responsive pleadings resulted

in a default judgment against it.” 494 F. Supp. 3d at 35. Even with such limited proceedings upon




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a default judgment, the court still awarded attorneys’ fees in the amount of $18,845.72. See id. at

36.

       28.     Plaintiff’s sole attorney of record is Richard B. Reiling of the law firm Bottone

Reiling. See generally Compl. Mr. Reiling was admitted to the Massachusetts Bar in December

1995. See Ex. C. Given his significant experience (25+ years), it is more than reasonable to

estimate an hourly rate of at least $350. Cf. Jin Hai Li v. Foolun, Inc., 273 F. Supp. 3d 289, 293-

94 (D. Mass. 2017) (finding, five years ago, rate of $300 per hour was reasonable for attorney of

21 years’ experience at a small law firm); Heath, 2007 WL 3259150 at *4 (finding, 15 years ago,

rate of $350 per hour for partner was reasonable).

       29.     Proceeding to trial in this case would, conservatively, consistent with the finding in

Heath, require at least 150 hours between investigating and drafting the complaint, engaging in

discovery (including regarding the alleged non-party “Telemarketers”), motion practice (including

dispositive motions), preparation for trial, and trial. At the conservative rate of $350 per hour, that

would result in attorneys’ fees of $52,500.

       30.     In light of the above-cited examples and Plaintiff’s counsel’s experience and the

hours reasonably expected to be billed, there clearly is a reasonable probability that, if only the

compensatory damages for the fourteen telephone calls placed at issue under the c. 93A claim

alone are considered ($70,000), statutory attorneys’ fees in this case could exceed the relatively

small amount of $5,000, which is all that would be required to surpass the $75,000 jurisdictional

threshold required for diversity jurisdiction.

       31.     Indeed, even if for some reason only the $50,000 identified by Plaintiff as his

damages in the civil cover sheet – artificially limited to the ten Spoofed Calls – is used as the




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starting point, there is a more than reasonable probability, given the above, that attorneys’ fees in

this case to judgment would exceed $25,000.

               3.      Punitive Damages

       32.     Plaintiff also alleges in connection with his intrusion upon seclusion claim that “the

acts complained of were committed with malice, intent, wantonness and recklessness, and as such,

Defendant is subject to punitive damages.” Compl. at ¶ 68. Although not specified in the

Complaint, and while there is no readily available precedent for punitive damages awarded on

such a claim, it is reasonable to estimate punitive damages of at least $5,000 if Plaintiff’s

allegations are deemed to be true and he were to be permitted to proceed to, and prevail at, trial on

the issue of punitive damages. This amount further adds to the amount in controversy.

       33.     Accordingly, while AM&P disputes that Plaintiff’s claims have merit or that he is

entitled to any recovery, AM&P has plausibly alleged and shown a reasonable probability that, if

Plaintiff were to be successful on his claims at trial, for removal purposes in this Notice of Removal

the amount in controversy exceeds $75,000 for Plaintiff’s claims. Therefore, the jurisdictional

threshold set by 28 U.S.C. § 1332 has been established by a preponderance of the evidence.

III.   Notice Given

       34.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be promptly served on Plaintiff, and a copy will be promptly filed with the Clerk of

the Trial Court of the Commonwealth, Superior Court Department, Middlesex County,

Massachusetts.




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IV.    Removal is Timely Filed

       35.     This Notice has been timely filed within thirty (30) days that Defendant was served

with the Summons and Complaint on May 19, 2022, as required by 28 U.S.C. § 1446(b)(2).

Accord Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999) (clarifying that 30-day

removal period under Section 1446 begins to run when defendant is formally served with summons

and the complaint, regardless of whether it previously had notice of complaint); Novak v. Bank of

New York Mellon Tr. Co., NA, 783 F.3d 910, 911 (1st Cir. 2015) (same).

V.     Pleadings and Process

       36.     Pursuant to 28 U.S.C. § 1446(a), copies of all state court process, pleadings, and

orders served upon AM&P in the action are attached to this Notice of Removal as Exhibit D.

       37.     Defendant will file certified or attested copies of all records and proceedings in the

state court and a certified or attested copy of all docket entries in the state court within 28 days as

required by Local Rule 81.1.

VI.    Venue

       38.     Pursuant to 28 U.S.C. § 1441(a), venue in this District Court is proper because this

action is currently pending in the Trial Court of the Commonwealth, Superior Court Department,

Middlesex County, Massachusetts, which is in the same District as the United States District Court

for the District of Massachusetts, Eastern Division.

VII.   Non-Waiver of Defenses

       39.     Nothing in this Notice shall be interpreted as a waiver or relinquishment of

Defendant’s rights to assert any defense or affirmative matter, including, without limitation,

motions to dismiss pursuant to Federal Rule of Civil Procedure 12.




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       ACCORDINGLY, pursuant to 28 U.S.C. §§ 1332, 1441(a) and (b), and 1446, this Court

has jurisdiction over this matter, and Defendant ADVANCED MARKETING AND

PROCESSING, INC. hereby removes this action from the Trial Court of the Commonwealth,

Superior Court Department, Middlesex County, Massachusetts, to this Court.

Dated: June 17, 2022                       Respectfully Submitted,

                                           PARTRIDGE SNOW & HAHN LLP

                                           /s/ Paul M. Kessimian
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                                           Advanced Marketing & Processing, Inc.




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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17th day of June, 2022, a true and accurate
copy of the foregoing was e-filed with the Court’s electronic filing system, to be served to all
attorneys of record and separately via e-mail and U.S. Mail to:

                    Richard B. Reiling
                    BOTTONE REILING
                    63 Atlantic Street, 3rd Floor
                    Boston, MA 02110
                    Phone: (617) 412-4291
                    Facsimile: (617) 412-4406
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                                               /s/ Paul M. Kessimian




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